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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________

                  United States of America                          )
                             v.                                     )
              TIMOTHY EUGENE TAYLOR                                 )      Case No.
              DOB: xx/xx/xxxx-PDID: xxx-xxx                         )
                                                                    )
                                                                    )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    August 11, 2023              in the county of                              in the
                       District of            Columbia          , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. § 922(g)(1)                            knowing he had previously been convicted of a crime punishable by
                                                 imprisonment for a term exceeding one year, did possess in and affecting
                                                 commerce, a firearm and ammunition, and did receive a firearm and
                                                 ammunition, which had been shipped and transported in interstate and
                                                 foreign commerce, that is, a Smith & Wesson M&P 2.0, semi-automatic
                                                 firearm and ammunition.




         This criminal complaint is based on these facts:
SEE ATTACHED STATEMENT OF FACTS




             Continued on the attached sheet.



                                                                                               Complainants signature

                                                                                        Marcus Harmon, Officer, MPD
                                                                                                Printed name and title




Date:             11/13/2023
                                                                                                  Judges signature

City and state:                           Washington, DC                        Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                Printed name and title
